          Supreme Court of Florida
                              ____________

                           No. SC2024-0237
                             ____________

 IN RE: AMENDMENTS TO RULES REGULATING THE FLORIDA
              BAR – RULES 6-3.5 AND 6-3.6.

                           August 22, 2024

PER CURIAM.

     The Florida Bar petitions the Court to amend Rules Regulating

The Florida Bar 6-3.5 (Standards for Certification) and 6-3.6

(Recertification). 1 The proposed amendments were approved by the

Board of Governors of The Florida Bar on a voice vote without

objection, and consistent with rule 1-12.1(g), the Bar published

formal notice of its intent to file the petition in The Florida Bar

News. The notice directed interested parties to file comments

directly with the Court. One comment was received from the Public

Interest Law Section. The Bar filed a response to the comment.




     1. We have jurisdiction. See art. V, § 15, Fla. Const.; see also
R. Regulating Fla. Bar 1-12.1.
     Having considered the Bar’s petition, the comment filed, and

the Bar’s response, we amend rules 6-3.5 and 6-3.6 as proposed by

the Bar. We discuss the more significant changes to both rules

below.

     First, existing rule 6-3.5(e) (Certification Without Examination)

is relocated to subdivision (d)(1) and is retitled “Limitations on

Qualifying for Certification Without Examination.” The existing

provisions within subdivision (d) are renumbered and relettered

accordingly.

     Next, new rules 6-3.5(e) (Good Cause) and 6-3.6(d) (Good

Cause) are added. Both rules standardize the factors the Board of

Legal Specialization and Education and the individual certification

committees must consider in assessing whether good cause exists

to waive applicable certification and recertification standards.

     New subdivisions (e) (Practice of Law for Recertification), (f)

(Waiver of Substantive Requirements), and (g) (Waiver for Health

Reasons) are added to rule 6-3.6. New rule 6-3.6(e) provides that

service as a judge, administrative law judge, court commissioner,

master, referee, magistrate, or arbitrator as applicable in the




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individual certification area may constitute the practice of law for

recertification purposes on the request of an applicant.

     A certification committee is required under new rule 6-3.6(f) to

waive the quantitative practice requirements for any applicant who

has been continuously certified for 14 years and otherwise meets

the requirements for the certification. Quantitative practice

requirements include items such as a minimum number of trials,

hearings, or matters handled. It does not include the percentage-

of-time requirement to demonstrate substantial involvement.

     And under new rule 6-3.6(g), a certification committee may

waive compliance with any portion of the quantitative practice

criteria for an otherwise qualified applicant who is not able to meet

the recertification requirements for health reasons for good cause

shown.

     The Rules Regulating The Florida Bar are hereby amended as

set forth in the appendix to this opinion. Deletions are indicated by

struck-through type, and new language is indicated by

underscoring. The amendments become effective October 21, 2024,

at 12:01 a.m.




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     It is so ordered.

MUÑIZ, C.J., and CANADY, LABARGA, COURIEL, GROSSHANS,
FRANCIS, and SASSO, JJ., concur.

THE FILING OF A MOTION FOR REHEARING SHALL NOT ALTER
THE EFFECTIVE DATE OF THESE AMENDMENTS.

Original Proceeding – Florida Rules Regulating The Florida Bar

Roland Sanchez-Medina, Jr., President, Rosalyn Sia Baker-Barnes,
President-elect, Joshua E. Doyle, Executive Director, and Elizabeth
Clark Tarbert, Division Director, Lawyer Regulation, The Florida
Bar, Tallahassee, Florida,

     for Petitioner

Anthony C. Musto on behalf of the Florida Bar Public Interest Law
Section, Hallandale, Florida,

     Responding with comments




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                             APPENDIX

RULE 6-3.5.     STANDARDS FOR CERTIFICATION

     (a)   [No Change]

      (b) Eligibility for Application. A member in good standing
of The Florida Bar who is currently engaged in the practice of law
and who meets the area’s standards may apply for certification.
From the date the application is filed to the date the certificate is
issued, theThe applicant must continue to practice law and remain
a member in good standing of The Florida Bar from the date the
application is filed to the date the certificate is issued. The
certificate issued by the board of legal specialization and education
shall states that the lawyer is a “Board Certified ([area of
certification)] Lawyer.”

     (c) Minimum Requirements for Qualifying for
Certification With Examination. Minimum requirements for
qualifying for certification by examination are as follows:.

           (1) Minimum Years of Practice of Law. AThe applicant
must have a minimum of 5 years substantially engaged in the
practice of law. The “practice of law” means legal work performed
primarily for purposes of rendering legal advice or representation.
Service as a judge of any court of record shall be deemed to
constitutes the practice of law for certification purposes.
Employment by the government of the United States, any state
(including subdivisions of the state such as counties or
municipalities), or the District of Columbia, and employment by a
public or private corporation or other business shall be deemed to
constitutes the practice of law for certification purposes if the
individual was required as a condition of employment to be a
member of the bar of any state or the District of Columbia. If
otherwise permitted in the particular standards for the area in
which certification is sought, theThe practice of law in a foreign
nation state, U.S. territory, or U.S. protectorate, or employment in a
position that requires as a condition of employment that the
employee be licensed to practice law in suchthat foreign nation


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state, U.S. territory, or U.S. protectorate, shall be countedcounts as
up to, but no more than, 3 of the 5 years required for certification if
provided in the applicable certification area standards.

            (2) Substantial Involvement. A satisfactory showing
ofThe applicant must demonstrate competence and substantial
involvement in the particularapplicable certification area for which
certification is sought during 3 of the last 5 years preceding the
application for certification.

            (3) Continuing Legal Education. A satisfactory showing
of suchThe applicant must complete the continuing legal education
requirement in a particular field of law for whichthe applicable
certification is soughtarea as set by that area’s standards. but in no
eventNo certification area’s standards may be less than 10
certification hours per year. Accreditation of educational hours is
subject to policies established by the applicable certification
committee or the board of legal specialization and education.

            (4) Examination. PassingThe applicant must pass a
written and/or oral examination that is applied uniformly to all
applicants toand is designed to demonstrate sufficient knowledge,
skills, and proficiency, professional responsibility, and ethics in the
applicable certification area for which certification is sought and in
the various areas relating to such field. The examination shall
include professional responsibility and ethics. The award of an
LL.M. degree from an approved law school in the applicable
certification area for which certification is sought within 8 years of
application may substitute as the written examination required in
this subdivision if the area’s standards so provide.

            (5) Current Certification by Approved Organizations.
CurrentThe board of legal specialization and education may approve
substitution of current certification by an approved organization in
the applicable certification area for which certification is sought
within 5 years of filing an application may, at the option of the
certification committee, substitute asfor partial equivalent credit,
including the written examination required in subdivision (c)(4).
Approval will be by the board of legal specialization and education


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following a positive or negative recommendation from at the
certification committee’s recommendation.

            (6) Peer Review. Peer review shall beis used to solicit
information to assess competence in the specialty field, and
professionalism and ethics in the practice of law. To qualify for
board certification, anthe applicant must be recognized as having
achieved a level of competence indicating special knowledge, skills,
and proficiency in handling the usual matters in the specialty field.
The applicant shallmust also be evaluated as to character, ethics,
and reputation for professionalism. An applicant otherwise
qualified may be denied certification on the basis of peer review.
Certification may also be withheld pending the outcome of any
disciplinary complaint or malpractice action.

      As part of the peer review process, the board of legal
specialization and education and its area committees shallmust
review an applicant’s professionalism, ethics, and disciplinary
record. SuchThis review shallmust include both disciplinary
complaints and malpractice actions. The process may also include
solicitation of public input and independent inquiry apart from
written referencesreview of completed peer review forms. Peer review
is mandatory for all applicants and may not be eliminated by
equivalents.

    (d) Limitations on and Minimum Requirements for
QualificationQualifying for Certification Without Examination.

           (1) Limitations on Qualifying for Certification Without
Examination. When certification without examination is available in
an area, it may be granted only as follows.

               (A) Two-Year Post-Approval Period. Certification
may be granted to individuals who apply within 2 years after the
date on which the applicable certification area is approved by the
Supreme Court of Florida.




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                (B) Individual Certification Standards.
Certification may be granted as otherwise permitted in the
particular standards for the applicable certification area.

            (2) Minimum Requirements for Qualifying for
Certification Without Examination. When certification without
examination is available in an area, the minimum requirements for
such certification are as follows:.

               (1A) Practice of Law. The applicant must
demonstrate a minimum of 20 years in the practice of law as
defined above on a full-time basis.

                  (2B) Substantial Involvement. The applicant must
demonstrate a satisfactory showing of competence and substantial
involvement in the particularapplicable certification area for which
certification is sought during 5 of the last 10 years, including the
year immediately preceding the application for certification.
Substantial involvement in the particular area of law for the 1 year
immediately preceding the application may be waived for good
cause shown.

                 (3C) Continuing Legal Education. The applicant
must completea satisfactory showing of such continuing legal
education in a particular field of law for whichthe applicable
certification areais sought as set by that area’s standards but in no
event less thanof at least 15 hours per year.

                 (4D) Peer Review. The applicant must undergo peer
review as set forth above.satisfactory peer review and professional
ethics record in accordance with subdivision (c)(6); and

                (5F) Fees. The applicant must payment of any
required fees required by the plan.

     (e) Certification Without Examination. When certification
without examination is available in an area, it may be granted only:




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           (1) to individuals who apply within 2 years after the
date on which the particular area is approved by the Supreme
Court of Florida; or

           (2) as otherwise permitted in the particular standards
for the area for which certification is sought.

     (e) Good Cause. In determining good cause under this
chapter, the board of legal specialization and education and
applicable certification committee must consider the applicant’s
supervisory responsibility in the certification area; the applicant’s
special knowledge, skills, and proficiency in the certification area;
the nature and complexity of matters in the certification area
handled by the applicant; the number of matters in the certification
area handled by the applicant over the course of the applicant’s
career; and any career or other factors relevant to the applicant’s
request for a waiver of compliance.


RULE 6-3.6.      RECERTIFICATION

     (a) – (c)   [No Change]

     (d) Good Cause. In determining good cause under this
chapter, the board of legal specialization and education and
applicable certification committee must consider the applicant’s
supervisory responsibility in the certification area; the applicant’s
special knowledge, skills, and proficiency in the certification area;
the nature and complexity of matters in the certification area
handled by the applicant; the number of matters in the certification
area handled by the applicant over the course of the applicant’s
career; and any career or other factors relevant to the applicant’s
request for a waiver of compliance.

     (e) Practice of Law for Recertification. Service as a judge,
administrative law judge, court commissioner, master, referee,
magistrate, or arbitrator as applicable in the applicable certification
area constitutes the practice of law for recertification purposes at
the applicant’s request if the applicant otherwise meets all


                                 -9-
requirements for the applicable certification area including the
percentage of time required for substantial involvement in the
applicable certification area.

      (f)   Waiver of Substantive Requirements. The applicable
certification committee must waive the quantitative practice
requirements for any applicant who has been continuously certified
for 14 years and otherwise meets all requirements for the applicable
certification area at the applicant’s request. Quantitative practice
requirements do not include the percentage-of-time requirement for
substantial involvement, but do include, for example, minimum
number of matters, trials, or hearings specified in individual
certification areas.

      (g) Waiver for Health Reasons. The applicable certification
committee may waive compliance with any portion of the
quantitative practice criteria in an individual recertification cycle for
an otherwise qualified applicant who is not able to meet the
recertification requirements for health reasons for good cause
shown on a special application form. Quantitative practice
requirements do not include the percentage-of-time requirement for
substantial involvement, but do include, for example, minimum
number of matters, trials, or hearings specified in individual
certification areas. In determining good cause under this rule, the
certification committee will consider, if the applicant requests, the
factors listed to be considered under good cause above and the
length and severity of the applicant’s health issues.




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